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                                #:52693




                 EXHIBIT 2
Case 2:15-ml-02668-PSG-SK Document 1437-3 Filed 06/19/24 Page 2 of 4 Page ID
                                #:52694

 From:                Ian Gore
 To:                  Rakesh Kilaru; Jenna Pavelec; Eliza Finley; Beth Wilkinson; Brian Stekloff; Max Warren; Jeremy Barber; Blake Neal; Caroline Li;
                      Anastasia Pastan; Ben Sherman; Ludwin, Derek; Playforth, John; Roxana Guidero
 Cc:                  Bill Carmody; Marc Seltzer; Amanda Bonn; Kalpana Srinivasan; Seth Ard; Tyler Finn; Howard Langer; Peter Leckman; Ned Diver;
                      Kevin Trainer; smartin; Sathya S. Gosselin; Farhad Mirzadeh; Samuel Maida; Bill Dunseth; Rodney Polanco; Nic Gamiz; Kim
                      Ferrari; Greg Fisk; Renee Thomas; Aracelys Pena; Leize Nand; Krishna Patel
 Subject:             RE: Trial Disclosure
 Date:                Wednesday, June 19, 2024 12:07:35 AM




 Rakesh,

 We are trying to keep you informed as timely as possible. We can also now confirm we intend to call Dr. Rascher
 after Professor Elhauge. We may change the order with Mr. Lennon, but plan to at least put Professor Elhauge
 on before Dr. Rascher. As for exhibits, we have provided disclosure for Professor Elhauge. We anticipate calling
 Dr. Rascher on Thursday and completing our rebuttal case, depending on how long Dr. Bernheim’s examination
 takes. We disclose the following exhibits that may be used with Dr. Rascher. We reserve all rights.

         TX-013
         TX-048
         TX-396
         TX-484
         TX-578

 Regards,
 Ian

 Ian M. Gore | Partner
 Susman Godfrey L.L.P.
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 From: Rakesh Kilaru <rkilaru@wilkinsonstekloff.com>
 Sent: Tuesday, June 18, 2024 10:11 PM
 To: Ian Gore <IGore@susmangodfrey.com>; Jenna Pavelec <jpavelec@wilkinsonstekloff.com>; Eliza Finley
 <EFinley@susmangodfrey.com>; Beth Wilkinson <bwilkinson@wilkinsonstekloff.com>; Brian Stekloff
 <bstekloff@wilkinsonstekloff.com>; Max Warren <mwarren@wilkinsonstekloff.com>; Jeremy Barber
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Case 2:15-ml-02668-PSG-SK Document 1437-3 Filed 06/19/24 Page 3 of 4 Page ID
                                #:52695

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 <rthomas@susmangodfrey.com>; Aracelys Pena <APena@susmangodfrey.com>; Leize Nand
 <LNand@susmangodfrey.com>; Krishna Patel <kpatel@hausfeld.com>
 Subject: Re: Trial Disclosure

 EXTERNAL Email
 Ian,

 Plaintiffs represented to the Court today that you would let us know this evening which rebuttal witnesses you
 intend to attempt to call and in which order. Are you walking back from that commitment?

 As you know, if you intend to call any rebuttal witnesses on Thursday and are permitted to do so, we were
 entitled to exhibit disclosures for all such witnesses more than twelve hours ago. Please respond promptly.

 Thanks,
 Rakesh


 From: Ian Gore <IGore@susmangodfrey.com>
 Sent: Tuesday, June 18, 2024 9:56 PM
 To: Jenna Pavelec <jpavelec@wilkinsonstekloff.com>; Eliza Finley <EFinley@susmangodfrey.com>; Rakesh Kilaru
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 <LNand@susmangodfrey.com>; Krishna Patel <kpatel@hausfeld.com>
 Subject: RE: Trial Disclosure

 Jenna,

 Plaintiffs are still evaluating any changes that need to be made to our witness lineup for rebuttal. I can confirm
 we no longer intend to present Mr. Baker or Mr. DeLuca at this time and there are no changes to the exhibit
 disclosure for Professor Elhauge. We will keep you informed of any other changes, if any.

 Regards,
 Ian
Case 2:15-ml-02668-PSG-SK Document 1437-3 Filed 06/19/24 Page 4 of 4 Page ID
                                #:52696


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 From: Jenna Pavelec <jpavelec@wilkinsonstekloff.com>
 Sent: Tuesday, June 18, 2024 7:09 PM
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 <LNand@susmangodfrey.com>; Krishna Patel <kpatel@hausfeld.com>
 Subject: Re: Trial Disclosure

 EXTERNAL Email
 Ian,

 Given your indication in court today that you plan to complete your rebuttal case on Thursday, please provide
 your exhibit disclosures for any other rebuttal witnesses you still intend to call, as well as the order of your
 remaining witnesses.

 Thank you,
 Jenna
